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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 19–127–BLG–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 CHRISTINA NICOLE DEHARO,

                      Defendant.



      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendation in this matter on January 23, 2020. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Cavan recommended this Court accept Christina Nicole Deharo’s


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guilty plea after Deharo appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to prohibited person in possession of a

firearm in violation of 18 U.S.C. § 922(g)(1), and false statement in violation of 18

U.S.C. § 1001(a)(2) as charged in Counts II and III of the Indictment.

      I find no clear error in Judge Cavan’s Findings and Recommendation (Doc.

53), and I adopt them in full.

      Accordingly, IT IS ORDERED that Christina Nicole Deharo’s motion to

change plea (Doc. 42) is GRANTED and Christina Nicole Deharo is adjudged

guilty as charged in Counts II and III of the Indictment.

      DATED this 10th day of February, 2020.




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